                        Case 3:16-cv-02186-WQH-MDD Document 125 Filed 08/10/22 PageID.4183 Page 1 of 2



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                                  DARREN D. CHAKER
                              6

                              7                           UNITED STATES DISTRICT COURT
                              8                        SOUTHERN DISTRICT OF CALIFORNIA
                              9
A Professional Corporation




                             10   SCOTT A. MCMILLAN, an individual;               Case No. 3:16-cv-2186-WQH-MDD
                                  THE MCMILLAN LAW FIRM, APC,
                             11   a California professional corporation,          Hon. William Q. Hayes
       Los Angeles




                                                                                  Courtroom 14B
                             12                      Plaintiffs – Appellants,
                                                                                  NOTICE OF MOTION AND
                             13            v.                                     MOTION TO SEAL CASE AND/
                                                                                  OR REDACT CASE RECORDS
                             14   DARREN D. CHAKER, an individual,
                                  and as trustee of PLATINUM                      [Filed Concurrently with
                             15   HOLDINGS GROUP TRUST, dba                       Memorandum of Points and
                                  COUNTER FORENSICS; NICOLE                       Authorities, Declaration of Darren
                             16   CHAKER, an individual, and as trustee           D. Chaker and (Proposed) Order]
                                  of THE NICOLE CHAKER
                             17   REVOCABLE LIVING TRUST, U/A                     DATE: SEPTEMBER 12, 2022
                                  dated August 18, 2010, VANIA
                             18   CHAKER, an individual and as                    NO ORAL ARGUMENT UNLESS
                                  beneficiary of The Island Revocable             REQUESTED BY THE COURT
                             19   Trust under,
                             20                      Defendants – Appellees.      Action Filed:     August 29, 2016
                                                                                  Trial Date:       None
                             21

                             22   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                             23            PLEASE TAKE NOTICE that Defendant-Appellee DARREN D.
                             24   CHAKER hereby files his Motion to Seal the Case and/or Redact Case Records
                             25   where he seeks to seal the entire record for this case or, alternatively, to redact all
                             26   protected information consistent with Code of Civil Procedure § 367.3.
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                                  4855-6068-4846.1

                                                                                     NOTICE OF MOTION AND MOTION TO SEAL CASE
                                                                                                  AND/OR REDACT CASE RECORDS
                             Case 3:16-cv-02186-WQH-MDD Document 125 Filed 08/10/22 PageID.4184 Page 2 of 2



                                1
                                    Dated: August 10, 2022                ROPERS MAJESKI PC
                                2

                                3
                                                                          By:
                                4                                               STEPHEN J. ERIGERO
                                                                                Attorneys for Defendant/Appellee
                                5                                               Darren D. Chaker
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A Professional Corporation




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                                                                                NOTICE OF MOTION AND MOTION TO SEAL CASE
                                                                                             AND/OR REDACT CASE RECORDS
